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 Attorneys for Samsung Electronics Co., Ltd.,
    Samsung Electronics America, Inc., and Samsung
 Telecommunications America, LLC

                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION

      APPLE INC., a California corporation,            CASE NO. 11-cv-01846-LHK

                    Plaintiff,                         DECLARATION OF MARK GRAY IN
                                                    SUPPORT OF SAMSUNG’S MOTION
             vs.                                       FOR PARTIAL SUMMARY JUDGMENT

    SAMSUNG ELECTRONICS CO., LTD., a                   Date: March 29, 2018
 Korean business entity; SAMSUNG                    Time: 1:30 p.m.
    ELECTRONICS AMERICA, INC., a New                   Place: Courtroom 8, 4th Floor
 York corporation; SAMSUNG                          Judge: Hon. Lucy H. Koh
    TELECOMMUNICATIONS
 AMERICA, LLC, a Delaware limited liability
    company,

                  Defendants.
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                                                                           Case No. 11-cv-01846-LHK
                                             DECLARATION OF MARK GRAY IN SUPPORT OF SAMSUNG'S
                                                        MOTION FOR PARTIAL SUMMARY JUDGMENT
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 1          I, Mark Gray, declare:

 2          1.     I am a member of the State Bar of California, admitted to practice before this Court,

 3 and an associate at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for

 4 Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 5 Telecommunications America, LLC (collectively, “Samsung”).1 I make this declaration of

 6 personal, firsthand knowledge, and if called and sworn as a witness, I could and would testify as set

 7 forth below.

 8          2.     Attached as Exhibit A. is a true and correct copy of a document designated as

 9 JX1043 for the 2012 jury trial.

10          3.     Attached as Exhibit B. is a true and correct copy of a document designated as

11 JX1041 for the 2012 jury trial.

12          4.     Attached as Exhibit C. is a true and correct copy of a document designated as

13 JX1042 for the 2012 jury trial.

14          5.     Attached as Exhibit D. is a true and correct copy of the Opening Expert Report of

15 Alan D. Ball Regarding “Article of Manufacture” For The Samsung Products Found To Infringe

16 U.S. Patents D618,677 and D593,087,” dated January 15, 2018.

17          6.     Attached as Exhibit E. is a true and correct copy of the Expert Report of Susan Kare

18 Regarding “Article of Manufacture” For The Samsung Products Found To Infringe U.S. Patent
19 D604,305”, dated January 15, 2018.

20          7.     Attached as Exhibit F. is a true and correct copy of the Brief for The United States

21 As Amicus Curiae Supporting Neither Party dated June 2016 filed in Samsung Electronics Co., Ltd

22 v. Apple Inc., United States Supreme Court, No. 15-777.

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           Effective January 1, 2015, Samsung Telecommunications America (“STA”) merged with
   and into Samsung Electronics America, and therefore STA no longer exists as a separate corporate
26 entity.
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28                                                -1-              Case No. 11-cv-01846-LHK (PSG)
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     Case 5:11-cv-01846-LHK Document 3592-3 Filed 02/23/18 Page 3 of 5




 1         8.     Attached as Exhibit G. are true and correct copies of excerpts from the transcript of

 2 the deposition of DongWook Kim on December 22, 2017.

 3         9.     Attached as Exhibit H. are true and correct copies of excerpts from the transcript of

 4 the deposition of Timothy Sheppard on December 14, 2017.

 5         10.    Attached as Exhibit I. is a true and correct copy of a document bearing Bates

 6 numbers SAMNDCA30007944- SAMNDCA30008049.

 7         11.    Attached as Exhibit J. is a true and correct copy of a document bearing Bates

 8 numbers SAMNDCA30004595- SAMNDCA30005046.

 9         12.    Attached as Exhibit K. is a true and correct copy of a document bearing Bates

10 numbers S-ITC-003710796-S-ITC-003711204.

11         13.    Attached as Exhibit L. is a true and correct copy of a document bearing Bates

12 numbers S-ITC-003711458-S-ITC-003711557.

13         14.    Attached as Exhibit M. is a true and correct copy of a document bearing Bates

14 numbers S-ITC-003712934-S-ITC-003713028.

15         15.    Attached as Exhibit N. is a true and correct copy of a document bearing Bates

16 numbers S-ITC-003714501-S-ITC-003714586.

17         16.    Attached as Exhibit O. is a true and correct copy of Apple’s Response to Samsung’s

18 Interrogatory No. 72, dated March 10, 2012.
19         17.    Attached as Exhibit P. is a true and correct copy of a document that is a collection of

20 excerpts of documents produced by Samsung.

21         18.    Attached as Exhibit Q. is a true and correct copy of the Reply Expert Report of Alan

22 D. Ball Regarding “Article of Manufacture” For The Samsung Products Found To Infringe U.S.

23 Patents D618,677 and D593,087, dated February 9, 2018.

24         19.    Attached as Exhibit R. is a true and correct copy of the Reply Expert Report of Susan

25 Kare Regarding “Article of Manufacture” For The Samsung Products Found To Infringe U.S.

26 Patent D604,305, dated February 9, 2018.
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28                                               -2-              Case No. 11-cv-01846-LHK (PSG)
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     Case 5:11-cv-01846-LHK Document 3592-3 Filed 02/23/18 Page 4 of 5




 1         20.    Attached as Exhibit S. are true and correct copies of excerpts from the transcript of

 2 the deposition of Alan D. Ball on February 13, 2018.

 3         21.    Attached as Exhibit T. are true and correct copies of excerpts from the transcript of

 4 the deposition of Susan Kare on February 16, 2018.

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 6         I declare under penalty of perjury that the foregoing is true and correct. Executed on

 7 February 23, 2018, at Redwood Shores, California.

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                                                        /s/ Mark Gray
 9                                                      Mark Gray
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28                                               -3-              Case No. 11-cv-01846-LHK (PSG)
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 1                                    Local Rule 5-1(i)(3) Attestation
 2          I, Victoria F. Maroulis, am the ECF user whose ID and password are being utilized for the
 3 filing of this document. I attest that Mark Gray has consented in the filing of this declaration.

 4          Executed on February 23, 2018 at Redwood Shores, CA.
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 6                                              By /s/ Victoria F. Maroulis
                                                  Victoria F. Maroulis
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28                                                 -4-              Case No. 11-cv-01846-LHK (PSG)
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